COUNTY OF SUFFOLK

FILED
IN CLERK'S OFFICE
U.S. DISTRICT COURT E.D.NY.

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SUFFOLK COUNTY CLERK’S OFFICELONG ISLAND OFFICE

JUDITH A. PASCALE
SUFFOLK COUNTY CLERK
WWW.SUFFOLKCOUNTYNY.GOV

Court Actions
631-852-2000 ext. 852

Date: 4|20|%

To whom it may concern:

Please find a Certified Copy of our Clerk’s Minutes for the E-filed Supreme Court case, Index
#CCHEAZ [1G __, along with a copy of the Notice of Removal.

Since the above mentioned case is E-filed, there are no hard copies of the documents.
If you have any questions, please call the number at the top of this page.
Thank you,

Court Actions

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Index # 604642/2018

OES eA NYSCEF
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4 Suffolk County Supreme Court

Ey

 

MICHAEL NOCELLA et al - v. - ALLSTATE INSURANCE COMPANY

Case © Caption:

Judge Name:

   

Jerry Garguilo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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1 SUMMONS + - COMPLAINT Processed 03/10/2018 Delluniversita, A.

2 RJl -RE: OTHER Processed 03/10/2018 Delluniversita, A.
temporary restraining order

3 ADDENDUM - COMMERCIAL DIVISION (840C) Processed 03/10/2018 Delluniversita, A.

4 NOTICE Processed 03/12/2018 Court User
NOTICE OF ASSIGNMENT TO THE COMMERCIAL
DIVISION

5 ORDER TO SHOW CAUSE - ACCOMPANYING Processed 03/14/2018 Delluniversita, A.
COMMENCEMENT DOC(S) (PROPOSED)

6 AFFIDAVIT OR AFFIRMATION IN SUPPORT OF Processed 03/14/2018 Delluniversita, A.
PROPOSED OSC/EXPARTE APP
emergency affirmation

7 AFFIDAVIT OR AFFIRMATION IN SUPPORT OF Processed 03/14/2018 Delluniversita, A.
PROPOSED OSC/EXPARTE APP
plaintiff's affidavit

8 AFFIDAVIT OR AFFIRMATION IN SUPPORT OF Processed 03/14/2018 Delluniversita, A.
PROPOSED OSC/EXPARTE APP
affidavit insupprot

9 AFFIDAVIT OR AFFIRMATION IN SUPPORT OF Processed 03/14/2018 Delluniversita, A.
PROPOSED OSC/EXPARTE APP
affirmation of Anthony P Delluniversita

10 EXHIBIT(S) Processed 03/14/2018 Delluniversita, A.
SUMMONS AND VERIFIED COMPLINT

11 EXHIBIT(S) Processed 03/14/2018 Delluniversita, A.
SALES AGREEMETN

12 EXHIBIT(S) Processed 03/14/2018 Delluniversita, A.
EXCLUSIVE AGENT AGREEMETN

13 EXHIBIT(S) Processed 03/14/2018 Delluniversita, A.
BUSINESS METRIC REPORT

14 EXHIBIT(S) Processed 03/14/2018 Delluniversita, A.
TOP SALES PRODUCER REPORT

15 EXHIBIT(S) Processed 03/14/2018 Delluniversita, A.
TOP SALEPERSON HONOR

16 EXHIBIT(S) Processed 03/14/2018 Delluniversita, A.
BEST IN COMPANY PRINTOQUOT

17 EXHIBIT(S) Processed 03/14/2018 Delluniversita, A.
TERMINATIN LETTER

18 EXHIBIT(S) Processed 03/14/2018 Delluniversita, A.
EXCERTPS FROM AGENCY MANUAL

19 EXHIBIT(S) Processed 03/14/2018 Delluniversita, A.
LETTER TO COUNSEL

20 EXHIBIT(S) Processed 03/14/2018 Delluniversita, A.
COMPANY PRINTOUT

21 EXHIBIT(S) Processed 03/14/2018 Delluniversita, A.

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Case 2:18-cv-01995-ADS-AYS Document 6 Filed 04/24/18 Page 6 of 10 Faggip #; 458
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STATE OF NEW YORK
COUNTY OF SUFFOLK

|, JUDITH A. PASCALE, Clerk of the County of Suffolk and the Court
of Record thereof do hereby certify that | have compared the annexed with the original

CLERKS MINUTES (NYSCEF)

filed in my office on 04/20/2018
and, that the same is a true copy thereof, and of the whole of such original.

In Testimony Whereof, | have hereunto set my hand and affixed the seal of said County
and Court this 4/20/2018

SUFFOLK COUNTY CLERK

JUDITH A, PASCALE

 
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66 NOTICE OF REMOVAL / REMAND (POST RJl) Processed 04/03/2018
Notice of Filing of Notice of Removal with Certification of
Service and Filing

67 EXHIBIT(S) Processed 04/03/2018 Grohs, M.

Copy of Filed Notice of Removal

 

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(FILED: SUFFOLK COUNTY CLERK 04/03/2018 03:49 PM INDEX NO. 604642/2018
NYSCEF DOC. NO. 66 RECEIVED NYSCEF: 04/03/2018

SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF SUFFOLK
Xx
MICHAEL NOCELLA and THE NOCELLA Index No. 604642/2018
INSURANCE AGENCY,
Plaintiffs, (Garguilo, J.)
Vv. NOTICE OF FILING
OF NOTICE OF REMOVAL
ALLSTATE INSURANCE COMPANY,
Document Electronically Filed
Defendant.
x

 

PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, defendant
Allstate Insurance Company (“Allstate”), by and through its undersigned attorneys, Saiber LLC,
has filed a Notice of Removal of the above-captioned action in the United States District Court
for the Eastern District of New York. Pursuant to 28 U.S.C. §1446(d), a copy of the filed Notice
of Removal is attached hereto as Exhibit 1, and Allstate is herewith providing notice to Anthony
P. DellUniversita, Esq., attorney for plaintiffs Michael Nocella and The Nocella Agency
(“Plaintiffs”), of the filing of this Notice of Filing of Notice of Removal.

Pursuant to 28 U.S.C. § 1446(d), the filing of the Notice of Removal in the United States
District Court for the Eastern District of New York, together with the notice to Plaintiffs’
attorney and the filing of a copy of the Notice of Removal with this Court, effects the removal of

this action and this Court may proceed no further unless and until the action is remanded.

1 of 3
 

(FILED: SUFFOLK COUNTY CLERK 04/03/2018 03:49 PM
NYSCEF DOC. NO.

66

Dated: April 3, 2018

TO:

Michael Scardino, Chief Clerk of the Court
Suffolk County Supreme Court

Supreme Court Building

1 Court Street

Riverhead, New York 11901

Hon. Jerry Garguilo, J.S.C.

New York Supreme Court — Suffolk County

Commercial Division Part 48

INDEX NO.
RECEIVED NYSCEF:

604642/2018
04/03/2018

Respectfully submitted,

SAIBER LLC
Attorneys for Defendant
Allstate Insurance pany

MichaeVJ. GrohsMGrohs@Saiber.com)
SAIBER LLC

18 Columbia Turnpike, Suite 200
Florham Park, New Jersey 07932

Tel. (973) 622-3333

Fax (973) 622-3349

-and-

270 Madison Avenue, Suite 1400
New York, New York 10016-0603
Tel. (646) 532-4646

Fax (212) 684-7995

John P. Cohalan, Jr., Courthouse (Courtroom §-33)

400 Carleton Avenue
Central Islip, New York 11722

Anthony P. Del] Universita, Esq.

Law Offices of Michael J. Alber, Esq.
5036 Jericho Turnpike, Suite 305
Commack, New York 11725

Attorney for Plaintiffs, Michael Nocella and

The Nocella Agency

2 of 3
 

(FILED: SUFFOLK COUNTY CLERK 04/03/2018 03:49 PM INDEX NO. 604642/2018
NYSCEF DOC. NO. 66 RECEIVED NYSCEF: 04/03/2018

CERTIFICATION OF SERVICE AND FILING

 

I hereby certify that on this date 1 caused the within Notice of Filing of Notice of
Removal with Exhibit 1 to be served, by NYSCEF and a copy by Federal Express, on the
following:

Anthony P. DellUniversita, Esq.

Law Offices of Michael J. Alber, Esq.
5036 Jericho Turnpike, Suite 305
Commack, New York 11725
Attorneys for Plaintiffs, Michael Nocella and
The Nocella Agency

I also hereby certify that on this date 1 caused the within Notice of Filing of Notice of
Removal with Exhibit 1 to be filed via NYSCEF, and copies delivered by Federal Express, to the
following:

Michael Scardino, Chief Clerk of the Court
Suffolk County Supreme Court
Supreme Court Building
1 Court Street
Riverhead, New York 11901

- and-

Hon. Jerry Garguilo, J.S.C.
New York Supreme Court — Suffolk County
Commercial Division Part 48
John P. Cohalan, Jr., Courthouse (Courtroom 8-33)
400 Carleton Avenue
Central Islip, New York 41722

WA

MICHAELT-GROHS

Dated: April 3, 2018

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